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               UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF TEXAS
                    GALVESTON DIVISION
 _______________________________________
                                        )
 SHERIFF BRAD COE, et al.               )
                                        )
                         Plaintiffs,    )
       v.                               ) No. 3:21-cv-00168
                                        )
 JOSEPH R. BIDEN, JR., et al.           )
                                        )
                         Defendants.    )
 _______________________________________)

               DEFENDANTS’ MOTION TO DISMISS
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                                     INTRODUCTION

       In early 2021, the Department of Homeland Security (“DHS”) and U.S. Immigration

and Customs Enforcement (“ICE”) adopted interim immigration enforcement priorities to

focus their limited enforcement resources on those noncitizens who posed the greatest risk

to national security, border security, and public safety. These interim priorities were to

remain in effect, pending Department-wide review of policies and practices, until DHS

issued revised immigration enforcement guidelines. After careful consideration and

engagement with agency personnel, the Secretary of Homeland Security issued a new

memorandum to guide officials in prioritizing noncitizens for apprehension and removal.

The New Guidance retains the three priorities of national security, border security, and

public safety, but gives greater discretion to line officers to assess the totality of the facts

and circumstances, including aggravating and mitigating factors, in determining whether

an individual poses a current threat and should be subject to an enforcement action.

       Plaintiffs—a group of Texas counties and sheriffs as well as an organization

claiming ICE officers as its members—have brought suit challenging both the Interim

Guidance and the New Guidance, arguing that DHS’s enforcement priorities conflict with

statutory provisions that, in their view, unconditionally require the undifferentiated arrest

and detention of entire classes of noncitizens, regardless of their individualized

circumstances, regardless of the safety and security consequences, and regardless of the

feasibility and negative consequences on other agency operations.

       Plaintiffs’ Second Amended Complaint fails to clear multiple threshold hurdles and

thus should be dismissed. First, Plaintiffs’ challenge to the Interim Guidance is moot.

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Second, Plaintiffs fail to allege a plausible injury traceable to DHS’s New Guidance. Third,

the Galveston Division of the Southern District of Texas is an improper venue for this

lawsuit. Fourth, the Administrative Procedure Act bars Plaintiffs’ claims in multiple ways,

including because immigration enforcement prioritization is committed to agency

discretion by law. Finally, the Court should at minimum dismiss Plaintiffs’ request for

relief against the President, because the Court lacks authority to grant declaratory or

injunctive relief against him, and the claims of the Federal Police Foundation, which are

barred by the Civil Service Reform Act.

                                          BACKGROUND
I.      Statutory Framework.

          The Immigration and Nationality Act (“INA”) establishes the framework for

arresting, detaining, and removing noncitizens who are unlawfully present or otherwise

removable from the United States. A “principal feature of th[is] removal system is the

broad discretion exercised by immigration officials.” Arizona v. United States, 567 U.S.

387, 396 (2012). 1

          The removal process typically begins when DHS, in its discretion, initiates a

removal proceeding against a noncitizen. See 8 U.S.C. § 1229(a); 8 C.F.R. § 239.1; see

also, e.g., 8 U.S.C. §§ 1225(b); 1228(b); 1187(b)(2); 1231(a)(5); 8 C.F.R. § 1208.31(e)

(instances of more limited proceedings in specific circumstances). DHS has discretion to

choose which charges of removability to pursue. See 8 U.S.C. § 1229a(a)(2). If the




1
    Internal quotation marks and citations are omitted throughout this brief, unless otherwise stated.
                                                       2
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noncitizen is placed into proceedings before an immigration judge (“IJ”), the IJ ultimately

determines whether the noncitizen is removable on the charged grounds, and if so, whether

to enter an order of removal. See 8 U.S.C. § 1229a(a); 8 C.F.R. § 1240.12. A noncitizen

subject to a removal order from an IJ may file an appeal before the Board of Immigration

Appeals (“BIA”), 8 C.F.R. §§ 1003.1(b), 1240.15, and the removal order is stayed pending

the appeal, 8 C.F.R. § 1003.6(a). If the BIA dismisses the appeal, the noncitizen may then

petition for review in a federal court of appeals, and request a further stay of removal

pending review. 8 U.S.C. § 1252(a)(5). Once an order of removal is final, see id.

§ 1101(a)(47)(B), and absent a stay, the noncitizen is subject to removal, see id.

§§ 1231(a)(1)(A), (a)(B)(ii). “At each stage” of this removal process, “the Executive has

discretion to abandon the endeavor.” Reno v. Am.-Arab Anti-Discrimination Comm.

(“AADC”), 525 U.S. 471, 483 (1999).

       This case concerns 8 U.S.C. §§ 1225, 1226, and 1231. Sections 1225 and 1226

establish procedures by which DHS “decide[s] (1) who may enter the country and (2) who

may stay here after entering.” Jennings v. Rodriguez, 138 S. Ct. 830, 836 (2018). Section

1225 authorizes certain actions, including expedited removal, with regard to a noncitizen

who is an “applicant[] for admission,” that is, a noncitizen who is “present in the United

States who has not been admitted or who arrives in the United States (whether or not at a

designated port of arrival . . . ).” 8 U.S.C. § 1225(a)(1). Section 1226, which “governs the

process of arresting and detaining” noncitizens, “distinguishes between two different

categories of aliens.” Jennings, 138 S. Ct. at 837. Section 1226(a) applies generally to

authorize the arrest and detention of noncitizens, pending a determination on removal from

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the United States. Section 1226(c) specifically covers noncitizens “who fall[] into one of

several enumerated categories involving criminal offenses and terrorist activities,” id., and

notes that DHS “shall take” these noncitizens “into custody . . . when [they are] released[]”

from criminal confinement. 8 U.S.C. § 1226(c)(1). Importantly, § 1226(c) does not

envision that covered noncitizens will always be arrested immediately following release.

See Nielsen v. Preap, 139 S. Ct. 954, 969 (2019) (§ 1226(c)’s instruction that officials

“shall act” is meant to “exhort[] [DHS] to act quickly,” but does not preclude arrests “well

after their release[]”). And § 1226(c) only precludes release of covered noncitizens once

they are taken into custody and proceedings are initiated. 8 U.S.C. § 1226(c)(2).

       Once a removal order becomes final, § 1231 sets out DHS’s detention and removal

authority. Section 1231(a) sets a “removal period” of 90 days that begins when the removal

order becomes “administratively final,” judicial review staying the removal concludes, or

the noncitizen “is released from [criminal or non-immigration] detention or confinement,”

whichever comes latest. 8 U.S.C. § 1231(a)(1)(B)(i)-(iii). Section 1231(a)(2) authorizes

detention during the removal period and mandates it for certain criminal noncitizens. Id.

§ 1231(a)(2). Congress, however, “doubt[ed]” that “all reasonably foreseeable removals

could be accomplished” within the 90-day period, Zadvydas v. Davis, 533 U.S. 678, 701

(2001), and so § 1231 permits—but does not require—detention and removal after the

removal period. Id.; see 8 U.S.C. §§ 1231(a)(1)(C), (a)(6). Generally, outside those

authorities, a noncitizen subject to a final order of removal may be released on an order of

supervision. Id. § 1231(a)(3).

       Section 1231(a)(5), which is at issue here, applies when a noncitizen who has

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previously been removed (or voluntarily departed “under an order of removal”) reenters

the United States illegally. That provision curtails any statutory right to relief the noncitizen

otherwise would have had, and states that the noncitizen “shall be removed under the prior

order at any time.” 8 U.S.C. § 1231(a)(5).

        To take custody of removable noncitizens, DHS may use a number of enforcement

tools, including immigration detainers. Through a detainer, DHS notifies a State or locality

that DHS intends to take custody of a removable noncitizen detained by the State or locality

upon his or her release, and asks the State or locality to (1) notify DHS of the noncitizen’s

release date; and (2) hold the noncitizen for up to 48 hours, until DHS can take custody.

See 8 C.F.R. § 287.7(a) (describing notification of release), (d) (describing temporary

detention request); ICE Policy No. 10074.2: Issuance of Immigration Detainers by ICE

Immigration     Officers    ¶ 2.7,   available    at   https://www.ice.gov/sites/default/files/

documents/Document/2017/10074-2.pdf (last visited Dec. 15, 2021) (“ICE Policy No.

10074.2”). Since April 2, 2017, ICE detainers must be accompanied by a signed

administrative warrant of arrest issued under 8 U.S.C. §§ 1226 or 1231(a), and may be

issued only to noncitizens arrested for criminal offenses and whom immigration officers

have probable cause to believe are removable. See ICE Policy No. 10074.2 ¶¶ 2.4-2.6. The

2017 policy further provides that should ICE officers determine not to take custody of a

noncitizen, the officers must immediately rescind the detainer. Id. ¶ 2.8.

II.   Guidance Memoranda Concerning Immigration Enforcement.
        A. Issuance of Interim Guidance

        On January 20, 2021, then-Acting Secretary of Homeland Security David Pekoske

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issued a memorandum titled “Review of and Interim Revision to Civil Immigration

Enforcement and Removal Policies and Priorities.” See Memorandum from David

Pekoske, Acting Sec’y of Homeland Sec., Review of and Interim Revision to Civil

Immigration Enforcement and Removal Policies and Priorities (Jan. 20, 2021), ECF No.

33-1 (the “Pekoske Memo”). The Pekoske Memo made note of DHS’s inherent resource

limitations and the “significant operational challenges” it faces due to the COVID-19

pandemic, and, in light of these considerations, called upon DHS “components to conduct

a review of policies and practices concerning immigration enforcement.” Id. at 1.

Consistent with longstanding historical practice, Acting Secretary Pekoske instructed DHS

components to develop recommendations concerning, among other things, “policies for

prioritizing the use of enforcement personnel, detention space, and removal assets[]” and

“policies governing the exercise of prosecutorial discretion[.]” Id. at 2.

       The Pekoske Memo also adopted two interim measures. First, the Pekoske Memo

directed DHS to focus its enforcement efforts on individuals implicating (1) national

security; (2) border security; or (3) public safety. Id. At the same time, it expressly

authorized enforcement activities outside of those categories. Id. at 3. Second, the Pekoske

Memo paused most removals for 100 days while DHS reviewed its policies. Id. Another

court in this district preliminarily enjoined this second measure but it has, regardless, since

expired on its own terms.

       On February 18, 2021, ICE issued a memorandum to operationalize the enforcement

priorities in the Pekoske Memo. See Memorandum from Tae Johnson, Acting Dir. of U.S.

Immigration and Customs Enf’t, Interim Guidance: Civil Immigration Enforcement and

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Removal Priorities (Feb. 18, 2021), ECF No. 33-2 (the “ICE Interim Guidance”). The ICE

Interim Guidance confirmed that “ICE operates in an environment of limited resources,”

and “necessarily must prioritize[]” certain “enforcement and removal actions over others”

in order to “most effectively achieve” its “critical national security, border security, and

public safety mission[.]” Id. at 2-3. The ICE Interim Guidance then catalogued the three

priority groups identified in the Pekoske Memo, as slightly modified, and reiterated that

the interim priorities do not “prohibit the arrest, detention, or removal of any noncitizen.”

Id. at 3. Enforcement actions outside the presumed priorities could proceed when warranted

by the circumstances, and generally subject to a local supervisor’s approval.

       While the ICE Interim Guidance was in effect, DHS was able to shift resources to

both focus on those posing greater public safety threats and other important agency

missions. As just one example, “arrests of those with aggravated felonies—priority #3

(public safety)—were up by roughly 2,000 from the prior year; they now account for one

in five arrests.” Texas v. United States, 14 F.4th 332, 335 (5th Cir. 2021), opinion vacated

on rehearing en banc (Nov. 30, 2021) (“Texas Stay Op.”).

       B. Litigation on Interim Guidance

       Four lawsuits were brought challenging the Pekoske Memo and the ICE Interim

Guidance (collectively “the Interim Guidance”). In this Court, Plaintiffs brought a motion

seeking to preliminary enjoin the Interim Guidance. Also in the Southern District, the

States of Texas and Louisiana sought an injunction on substantially similar claims. That

court granted the preliminary injunction, but, in a unanimous published decision, the Fifth

Circuit largely stayed that injunction pending appeal. Texas Stay Op., 14 F.4th 332. In

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doing so, the Fifth Circuit disagreed with the district court’s conclusion that two detention

provisions “override the deep-rooted tradition of enforcement discretion when it comes to

decisions that occur before detention, such as who should be subject to arrest, detainers,

and removal proceedings.” Id. at 340; id. at 338 (“What is more, in the quarter century that

IIRIRA has been on the books, no court at any level previously has held that sections

1226(c)(1) or 1231(a)(2) eliminate immigration officials’ discretion to decide who to arrest

or remove.”). The Fifth Circuit stayed the injunction except to the extent it prevented DHS

“from relying on the memos to release those who are facing enforcement actions and fall

within the mandatory detention provisions,” seeing “no basis for upsetting it at this stage

as that is what the statutes govern.” Id. at 337 (emphasis added). Indeed, consistent with

longstanding DHS practice, DHS does not as a general matter release individuals who are

in ICE custody and who (i) are in removal proceedings and fall under 8 U.S.C. § 1226(c);

or (ii) have final removal orders, are in the removal period, and, pursuant to 8 U.S.C.

§ 1231(a)(2), have been found inadmissible under 8 U.S.C. §§ 1182(a)(2) or 1182(a)(3)(B)

or deportable under §§ 1227(a)(2) or 1227(a)(4)(B). After the Interim Guidance was

revoked and superseded by the New Guidance, the Fifth Circuit granted rehearing en banc

and vacated the opinion and stay. See Order, Texas v. United States, No. 21-40618 (5th

Cir. Nov. 30, 2021). The court did not specify the grounds upon which its vacatur rested.

       Two other suits also sought to preliminarily enjoin the Interim Guidance. A Florida

district court denied Florida’s motion for preliminary injunction, holding that the Interim

Guidance is not final agency action and, in any event, is committed to agency discretion.

See Florida v. United States, No. 8:21-CV-541-CEH-SPF, 2021 WL 1985058, at *9 (M.D.

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Fla. May 18, 2021) (“The policies do not change anyone’s legal status nor do they prohibit

the enforcement of any law or detention of any noncitizen.”); id. at *10 (“Even if the Court

were to conclude the agency action is final reviewable action, the Court agrees with

Defendants that the memoranda reflect discretionary agency decisions related to the

prioritization of immigration enforcement cases, which are presumptively not subject to

judicial review.”). Florida appealed, and the matter was fully submitted to the Eleventh

Circuit. After the Eleventh Circuit directed the parties to file supplemental briefs

addressing whether the New Guidance mooted Florida’s challenge to the Interim Guidance,

Florida filed an unopposed motion to dismiss its appeal as moot and for vacatur of the

district court opinion.

       Next, an Arizona district court dismissed Arizona and Montana’s suit and denied

their motion for preliminary injunction, finding that immigration enforcement priorities are

committed to agency discretion and, therefore, not subject to judicial review. See Arizona

v. U.S. Dep’t of Homeland Sec., No. CV-21-00186-PHX-SRB, 2021 WL 2787930, at *10

(D. Ariz. June 30, 2021) (“While [the States] may not agree with this prioritization scheme,

[the States’] allegations in their Amended Complaint do not ‘rise to a level that would

indicate’ that the Government is abdicating its responsibility to remove noncitizens with

final orders of removal from the United States.”) (emphasis in original). The Ninth Circuit

twice denied Arizona’s and Montana’s motions for an injunction pending appeal. See

Arizona v. United States, Case No. 21-16118 (9th Cir. July 30, 2021, and Sept. 3, 2021).

Defendants recently filed a motion to dismiss the appeal, and the States have not yet taken

a position on the motion.

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       C. New Guidance

       On September 30, 2021, the Secretary issued the memorandum at issue here,

“Guidelines for the Enforcement of Civil Immigration Law” (“New Guidance”). See New

Guidance, ECF No. 58-1. The seven-part “memorandum provides guidance for the

apprehension and removal of noncitizens.” Id. at 1. The New Guidance does not cover

detention. The first part explains the foundational principle of the exercise of prosecutorial

discretion. See, e.g., id. at 2 (underscoring how it is “well established in the law that federal

government officials have broad discretion to decide who should be subject to arrest,

detainers, removal proceedings, and the execution of removal orders”). The next part

provides the substantive provisions prioritizing national security, public safety, and border

security. Id. at 3-4. The third part seeks to ensure that DHS exercises its “discretionary

authority in a way that protects civil rights and civil liberties.” Id. at 5. Fourth, the New

Guidance guards against the “use of immigration enforcement as a tool of retaliation.” Id.

Fifth, through training, data collection, and quality review mechanisms, DHS seeks to

ensure that line officers apply the New Guidance with integrity and quality while leaving

“the exercise of prosecutorial discretion to [their] judgment.” Id. at 5-6. Sixth, the New

Guidance set November 29, 2021, as the effective date, which also served to rescind the

Pekoske Memo and the ICE Interim Guidance. Id. at 6-7. And, last, the New Guidance

contains a statement that it confers no “right or benefit.” Id. at 7.

       For the substantive provisions in Part II, the New Guidance maintains the three

categories from the Interim Guidance—national security, border security, and public

safety—but the New Guidance functions in a distinctively different manner, particularly

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with respect to the public-safety category. See id. at 3-4. Rather than creating presumed

priority categories, the New Guidance avoids “bright lines or categories” and instead

“requires an assessment of the individual and totality of the facts and circumstances.” Id.

at 3. With this as the backdrop, the New Guidance then includes a non-exclusive list of

aggravating factors (e.g., “the gravity of the conviction and sentence imposed[]” or “the

sophistication of the criminal offense[]”) and mitigating factors (e.g., “military service” or

“time since an offense and evidence of rehabilitation[]”). Id. at 3-4. Further, in emphasizing

discretion in this realm, the New Guidance notes that “[t]he overriding question is whether

the noncitizen poses a current threat to public safety.” Id. at 4. Likewise, for border security,

the New Guidance underscores that “[DHS] personnel must evaluate the individual and the

totality of the facts and circumstances and exercise their judgment accordingly.” Id.

III. Litigation History.

          Plaintiffs filed their Complaint challenging the Interim Guidance on July 1, 2021,

and their Second Amended Complaint challenging both the Interim Guidance and the New

Guidance on October 8, 2021. 2 In their Second Amended Complaint, Plaintiffs assert

claims under the INA, the Administrative Procedure Act (“APA”), and the Take Care

Clause of the Constitution.

                                            ARGUMENT

          Defendants move to dismiss the Second Amended Complaint for lack of subject

matter jurisdiction. Fed. R. Civ. P. 12(b)(1). Rule 12(b)(1) dismissal is required if the court



2
    Plaintiffs filed a motion for preliminary injunction against the Interim Guidance on July 8, 2021.
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“lacks the statutory or constitutional power to adjudicate the case.” Hooks v. Landmark

Indus., Inc., 797 F.3d 309, 312 (5th Cir. 2015). The plaintiff bears the burden of

“demonstrating that he is a proper party to invoke judicial resolution of the dispute and the

exercise of the court’s remedial powers.” Renne v. Geary, 501 U.S. 312, 316 (1991). In

assessing its jurisdiction, a court may rely upon: “(1) the complaint alone; (2) the complaint

supplemented by undisputed facts evidenced in the record; or (3) the complaint

supplemented by undisputed facts plus the court’s resolution of disputed facts.” In re S.

Recycling, L.L.C., 982 F.3d 374, 379 (5th Cir. 2020).

       The Court should also dismiss for improper venue. Fed. R. Civ. P. 12(b)(3). “[T]he

plaintiff has the burden of demonstrating that the chosen venue is proper.” Graham v.

Dyncorp Int’l, Inc., 973 F. Supp. 2d 698, 700 (S.D. Tex. 2013). “[T]he court must accept

as true all allegations in the complaint and resolve all conflicts in favor of the plaintiff,”

when assessing venue. Id. (quoting Braspetro Oil Servs. Co. v. Modec (USA), Inc., 240

Fed. App’x 612, 615 (5th Cir. 2007) (per curiam)).

I.   Plaintiffs’ Challenge to the Interim Guidance is Moot.

       “Under Article III of the Constitution, federal courts may adjudicate only actual,

ongoing cases or controversies,” and do not have “the power ‘to decide questions that

cannot affect the rights of litigants in the case before them.’” Lewis v. Cont’l Bank Corp.,

494 U.S. 472, 477 (1990). “To qualify as a case fit for federal-court adjudication, an actual

controversy must be extant at all stages of review, not merely at the time the complaint is

filed.” Arizonans for Official English v. Arizona, 520 U.S. 43, 67 (1997). “A case becomes

moot—and therefore no longer a ‘Case’ or ‘Controversy’ for purposes of Article III—when

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the issues presented are no longer ‘live’ or the parties lack a legally cognizable interest in

the outcome.” Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013). In other words,

“[m]ootness applies when intervening circumstances render the court no longer capable of

providing meaningful relief to the plaintiff.” Ctr. for Biological Diversity, Inc. v. BP Am.

Prod. Co., 704 F.3d 413, 425 (5th Cir. 2013).

       Here, intervening circumstances preclude the Court from providing any meaningful

relief to Plaintiffs on their challenge to the Interim Guidance. Plaintiffs’ challenge to the

January 20 and February 18 Memoranda became moot once those memoranda “expired by

[their] own terms.” Trump v. Int’l Refugee Assistance Project, 138 S. Ct. 353 (2017); Burke

v. Barnes, 479 U.S. 361, 363 (1987) (challenge to validity of bill became moot when “that

bill expired by its own terms”); Spell v. Edwards, 962 F.3d 175, 179 (5th Cir. 2020)

(holding that “a law’s automatic expiration” moots the case); see Knox v. Serv. Emps. Int’l

Union, Local 1000, 567 U.S. 298, 307 (2012) (claim is moot where it would be impossible

for plaintiffs to obtain “any effectual relief” even if they were to prevail on their

claims); Norfolk S. Ry. Co. v. City of Alexandria, 608 F.3d 150, 161 (4th Cir. 2010) (when

a court’s “resolution of an issue could not possibly have any practical effect on the outcome

of the matter,” case must be dismissed). In the January 20, 2021, Memorandum, the Acting

Secretary of Homeland Security stated that the Department’s interim guidance in Section

B, i.e., the Interim Guidance challenged here, would “remain in effect until superseded by

revised priorities developed in connection with the review directed in section A.” See

Pekoske Memo at 3. Likewise, because the February 18 Memorandum implemented the

January 20 Memorandum, it also expired by its own terms when new superseding guidance

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took effect. See ICE Interim Guidance at 1 (“This memorandum establishes interim

guidance in support of the interim civil immigration enforcement and removal priorities

that Acting Secretary Pekoske issued on January 20, 2021.”). The New Guidance did just

that: It stated explicitly that upon its effective date of November 29, 2021, “this guidance

will serve to rescind (1) the January 20, 2021 Interim Revision to Civil Immigration

Enforcement and Removal Policies and Priorities issued by then-Acting Secretary David

Pekoske, and (2) the Interim Guidance: Civil Immigration Enforcement and Removal

Priorities issued by Acting ICE Director Tae D. Johnson.” See New Guidance at 6.

        Accordingly, the Interim Guidance is no longer in effect and Plaintiffs’ challenge to

it is now moot. This Court should dismiss Plaintiffs’ challenge to the Interim Guidance. 3

II.   The Court Should Dismiss All Other Claims in the Second Amended
      Complaint.

        The Court should dismiss all of Plaintiffs’ claims related to the New Guidance for

any of multiple independent reasons. First, the Plaintiffs cannot establish Article III

standing to sue, and the Court therefore lacks jurisdiction. Second, venue in the Southern

District of Texas is improper. Third, the Plaintiffs’ claims are barred by multiple threshold

requirements of the APA. These same defects would also bar Plaintiffs’ challenge to the

Interim Guidance to the extent this Court finds that those claims are not moot. Accordingly,

the Court should dismiss the Second Amended Complaint in full.




3
 With the consent of the Plaintiff States, Defendants have moved to dismiss their appeal in the
Fifth Circuit of the preliminary injunction entered against the Interim Guidance. See Consent
Motion, Texas v. United States, No. 21-40618 (5th Cir. Dec. 6, 2021).
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       A.    Plaintiffs lack Article III standing to sue.

       Plaintiffs—six Texas sheriffs, seven Texas counties, and the Federal Police

Foundation (the “Foundation”)—fail to establish that they will suffer any cognizable injury

due to the New Guidance. To establish standing to “seek injunctive relief, a plaintiff must

show that” it “is under threat of suffering” an “actual and imminent” injury caused by “the

challenged action,” and that “a favorable judicial decision will prevent” that injury.

Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009). Any “threatened injury must be

certainly impending to constitute injury in fact”; allegations of “possible future injury do

not satisfy . . . Art. III.” Whitmore v. Arkansas, 495 U.S. 149, 158 (1990) (emphasis added).

Additionally, to establish redressability, a plaintiff must show that “it is likely, as opposed

to merely speculative, that the injury will be redressed by a favorable decision.” Friends of

the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 181 (2000).

            1. The Sheriffs and Counties cannot demonstrate any redressable injury that is
                 traceable to the New Guidance.

       The Plaintiff Sheriffs and Counties assert that the New Guidance will increase the

number of removable or detainable noncitizens in their respective counties, resulting in an

increase in crimes (and related costs). See Second Amend. Compl. ¶¶ 118-43, ECF No. 59

(“SAC”). As a threshold matter, a litigant “lacks a judicially cognizable interest in the

prosecution or nonprosecution of another.” Linda R.S. v. Richard D., 410 U.S. 614, 619

(1973). Regardless, this theory relies on a speculative chain of events involving

independent actions by third parties, and does not show that any injury is “certainly

impending.” Whitmore, 495 U.S. at 158 (emphasis added); see California v. Texas, 141 S.


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Ct. 2104, 2117 (2021) (“[W]here a causal relation between injury and challenged action

depends upon the decision of an independent third party,” standing is “ordinarily

substantially more difficult to establish.”). Even assuming that the New Guidance will

result in a drop in some enforcement actions, Plaintiffs’ theory hinges on the unsupported

allegation that the noncitizens spared from enforcement actions due to the New Guidance

will not only commit crimes but will commit crimes that require more resources than those

who, because the priorities focus resources on them, are apprehended instead. 4

       Plaintiffs fail to adequately allege that the purported increase in criminal activity in

the Counties is attributable to noncitizens who were spared from immigration enforcement

actions due to immigration enforcement prioritization. As an initial matter, Plaintiffs

simply allege that certain counties have recently experienced an increase in arrests of

noncitizens over the last year due to the commission of unspecified crimes. Although the

Complaint alleges an increase in arrests of noncitizens by the Counties, that does not

necessarily mean there has been an increase in criminal activity by noncitizens. Indeed, the

lead Plaintiff, Sheriff Brad Coe, was recently quoted explaining his efforts to encourage

local landowners to report property crimes that previously went unreported. 5 Moreover,



4
  In Texas v. United States, the Fifth Circuit noted that a Court may consider “offsetting benefits
that are of the same type and arise from the same transaction as the costs.” 809 F.3d 134, 155 (5th
Cir. 2015), as revised (Nov. 25, 2015), aff’d by an equally divided court, 136 S. Ct. 2271 (2016).
Here, the offsetting “benefits” (the apprehension, due to the New Guidance, of noncitizens likely
to pose a threat to society) is “of the same type” as Plaintiffs’ alleged injury (the non-apprehension
of other criminal noncitizens) and arise from the same event (the New Guidance).
5
  See Aaron Nelson, Kinney County Has Embraced Greg Abbott’s Operation Lone Star Like
Nowhere Else. It’s Fueling the Hysteria of Some Locals, Texas Monthly (Oct. 29, 2021),
texasmonthly.com/news-politics/operation-lone-star-kinney-county/. In considering a motion


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Sheriff Coe also explained that he could not attribute the recent increase in crime to

noncitizens—that it “could be part of illegal alien trafficking or it could just be local meth

heads.” 6 By the parties’ own admission, then, Plaintiffs cannot plausibly allege an increase

in crime caused by something other than their own conduct—much less an increase in

crimes committed by noncitizens—much less crimes committed by noncitizens who

otherwise would have been priorities, but for the challenged Guidance.

       More broadly, to support their injury theory, the Sheriffs and Counties allege that

the Interim Guidance resulted in an increase in crime in their respective counties. But even

assuming this speculative assertion were true, it does not show that the New Guidance will

increase crime in the Counties. In fact, there are material differences between the Interim

Guidance and the New Guidance. For example, the New Guidance provides enforcement

officials with more discretion to take enforcement actions against noncitizens deemed to

pose a public safety threat. Although the Interim Guidance focused on those convicted of

aggravated felonies or participated in certain criminal organizations, see ICE Interim

Guidance, at 4-5, the New Guidance generally calls on officials to prioritize enforcement

actions against those who “pose[] a current threat to public safety.” New Guidance, at 3.

       Finally, even assuming that any Sheriff or County could establish both an impending

injury and a fairly traceable causal link from that injury to the New Guidance, Plaintiffs

fail to show that their alleged injuries would “likely” be redressed by a favorable decision.



under FRCP 12(b)(1), a court can consider evidence outside the complaint without converting the
motion to one for summary judgment. See Hill v. Rsch. Inst. of Am. Grp., 209 F.3d 719 n.1 (5th
Cir. 2000).
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  See id.
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Laidlaw, 528 U.S. at 181. Due to resource constraints, every Administration must

inevitably prioritize certain enforcement actions over others; the only question is how it

prioritizes. See Arizona, 567 U.S. at 396. Thus, even if the Court enjoins the New Guidance,

DHS would still have to adopt some prioritization scheme, whether explicitly (through

central guidance) or implicitly (by forcing local immigration officials to engage in ad hoc

prioritization given the reality of limited resources). Plaintiffs do not allege that the

resulting prioritization scheme would result in a decrease in crime—much less that crime

would decrease in their respective jurisdictions. See DaimlerChrysler Corp. v. Cuno, 547

U.S. 332, 344 (2006) (“redressability [that] requires speculat[ion]” is insufficient to support

standing). Thus, it is purely speculative that a favorable ruling would address Plaintiffs’

alleged injuries.

           2. Binding Fifth Circuit precedent precludes a finding of injury for the Federal
                Police Foundation or its members.

       The Foundation asserts two injuries due to the New Guidance. First, it contends that

its ICE-officer members may suffer an injury because either they will have to follow the

New Guidance and allegedly violate their oaths, or they will resist following the New

Guidance and be subject to discipline. See SAC ¶¶ 153-54. Second, the Foundation tries to

establish standing based on a supposed injury from having to advise its members on

compliance with the New Guidance. See SAC ¶¶ 150-52. Neither injury is cognizable

under Fifth Circuit precedent.

       The first theory—an “associational standing” theory based on injuries allegedly

born by the Foundation’s members—fails under the Fifth Circuit’s decision in Crane v.


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Johnson, 783 F.3d 244, 253-55 (5th Cir. 2015) (ICE officers and Mississippi lacked

standing to challenge DACA). There, the ICE officers asserted that DACA would

“compel[] [them] to violate their oath to uphold the laws of the United States,” and subject

them to potential “employment sanctions if they do not follow the Directive.” Id. at 253.

The Fifth Circuit rejected these theories, noting that (i) an “agent’s subjective belief that

complying with” a policy “will require him to violate his oath is not a cognizable injury,”

and (ii) officers could not show they would be subjected to “employment sanctions” since

DACA states that “[a]gents shall exercise their discretion in deciding to grant deferred

action,” making it “unlikely that the agency would impose an employment sanction against

an employee who exercises his discretion to detain an illegal alien.” Id. at 253-55.

       The same reasoning applies here. An officer’s subjective belief that following the

New Guidance will conflict with his oath “is not a cognizable injury,” and the New

Guidance expressly vests the officers with discretion to make judgment calls on a case-by-

case basis, making it “unlikely” that DHS would impose “employment sanction[s]” on any

officer who exercises that discretion. Thus, as a matter of law, the Foundation cannot

establish associational standing based on either postulated injury to its members.

       The Foundation’s second theory—an “organizational standing” theory based on

financial costs borne by the Foundation—likewise fails. To establish standing based on an

organization’s voluntary expenditures, the organization must show that it had to expend

“significant resources” in a manner inconsistent with its mission. Tenth St. Residential

Ass’n (“TSRA”) v. City of Dallas, 968 F.3d 492, 495 (5th Cir. 2020). A “setback to the

organization’s abstract social interests” does not constitute “an injury-in-fact.” Id. Here,

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the Foundation has not shown that it will expend any resources, let alone significant

resources, as a result of the New Guidance. Rather, the Foundation merely asserts that it

has had to “advis[e]” its members over the priorities guidance. See SAC ¶ 150. Further,

investing funds towards educating its members falls squarely within the Foundation’s pre-

existing mission. Indeed, Plaintiffs specifically allege that one of the Foundation’s

“purposes” is “informing federal law enforcement officers.” SAC ¶ 46. Thus, the

Foundation has not established an injury-in-fact necessary for organizational standing.

         B.    Venue is improper in the Galveston Division of the Southern District of Texas.

         In the alternative, this Court should dismiss the Second Amended Complaint

because the Southern District of Texas is an improper venue for Plaintiffs’ claims. See 28

U.S.C. § 1391(e); see generally Mot. to Transfer, ECF No. 32 (“Defs.’ Transfer Mot.”). 7

         Plaintiffs may not establish venue in a district based on the location of plaintiffs

who lack standing. See Miller v. Albright, 523 U.S. 420, 426-27 (1998). Although

Defendants believe that no party has standing to challenge the New Guidance, the

allegations of harm to Galveston County and McMullen County and its Sheriff—the

Plaintiffs that reside in the Southern District of Texas—are particularly untethered to the

policy being challenged here. For McMullen County and its Sheriff, the operative

Complaint claims that there has been an eight-fold increase in the number of arrests in 2021

compared to 2020. SAC ¶ 129. And for to Galveston County, the operative Complaint

alleges that overall crime is up because 30% more criminals have been booked into the




7
    Defendants reprise their arguments from their pending transfer motion to preserve them.
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County jail in 2021. SAC ¶ 134. Plaintiffs’ most specific allegations of harm to Galveston

and McMullen Counties do not distinguish at all between noncitizens and citizens and

lawful residents, and so cannot be attributable to the New Guidance. While Plaintiffs assert

that the increases in arrests and bookings are due to noncitizens unlawfully present in the

country, the Court must disregard this unsupported conclusion. See Ashcroft v. Iqbal, 556

U.S. 662, 683 (2009). To the extent that the Court determines that any of the Plaintiffs have

adequately alleged injury, it should dismiss the Plaintiffs whose allegations do not support

their claim to injury, namely Galveston County and McMullen County and its Sheriff.

       Further, Plaintiffs cannot establish venue by referring to Foundation members who

serve in the Southern District of Texas because this Court plainly lacks jurisdiction over

their claims under the CSRA, see infra III.A, and, in any event, those members lack

standing, see supra II.A.2. Thus, although Defendants contend that no Plaintiff has

standing, see supra II.A, to the extent the Court finds that any Plaintiff has standing to

challenge the New Guidance, it would presumably be Kinney County and its Sheriff, whose

claim cannot proceed in this District. See 28 U.S.C. § 1391(e).

       Thus, the Court should dismiss this action for improper venue. Alternatively,

Defendants have filed a motion to transfer this action to the Western District of Texas, in

part under 28 U.S.C. § 1406, to cure this jurisdictional defect. Defs.’ Transfer Mot. The

Court could thus alternatively dismiss this action for improper venue or transfer it to the

Western District of Texas.

       C.   Plaintiffs’ claims fail to clear three threshold bars to APA lawsuits.

       Three limitations imposed by the APA each independently bars the Plaintiffs’

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claims. First a court cannot review immigration enforcement priorities because such action

is “committed to agency discretion by law” under 5 U.S.C. § 701(a)(2). Second, the New

Guidance is not “final agency action” subject to review under the APA because it does not

alter legal rights or obligations. See 5 U.S.C. § 704. Third, numerous provisions of the INA

narrowly circumscribe the mechanisms and procedures for judicial review of immigration

policies and thereby “preclude judicial review” under the APA. See 5 U.S.C. § 701(a)(1).

       As an initial matter, all of Plaintiffs’ claims—including their claim under the Take

Care Clause—are brought pursuant to the APA. Judicial review under the APA expressly

includes claims that agency action is “contrary to constitutional right.” 5 U.S.C. §

706(2)(B). Plaintiffs may not plead their way around the fundamental principles governing

review of agency action by relying on constitutional arguments. See Charlton Mem. Hosp.

v. Sullivan, 816 F. Supp. 50, 51 (D. Mass. 1993) (plaintiff’s equal protection claim “cannot

so transform the case that it ceases to be primarily a case involving judicial review of

agency action”); Harkness v. Sec’y of Navy, 858 F.3d 437, 451 n.9 (6th Cir. 2017) (noting

that a constitutional claim “is properly reviewed on the administrative record”), cert.

denied, 138 S. Ct. 2648 (2018) (mem.); Jarita Mesa Livestock Grazing Ass’n v. U.S. Forest

Serv., 58 F. Supp. 3d 1191, 1232 (D.N.M. 2014) (“The presence of a constitutional claim

does not take a court’s review outside of the APA [action].”).

          1.    The challenged action is “committed to agency discretion by law.”

       As the Supreme Court has explained, the Executive’s “broad discretion” in

enforcement decisions is “particularly ill-suited to judicial review.” Wayte v. United States,

470 U.S. 598, 607 (1985). The reasons for judicial modesty in this sphere “are greatly

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magnified in the deportation context.” AADC, 525 U.S. at 490. As district courts in Florida

and Arizona explained in rejecting two other recent challenges to DHS’s immigration

enforcement priorities, immigration enforcement prioritization is committed to agency

discretion by law and not reviewable under the APA. See Florida, 2021 WL 1985058, at

*10; Arizona, 2021 WL 2787930, at *11.

       Plaintiffs’ challenge to the New Guidance therefore fails. The APA precludes

review “of certain categories of administrative decisions that courts traditionally have

regarded as ‘committed to agency discretion.’” Texas, 809 F.3d at 165 (quoting Lincoln v.

Vigil, 508 U.S. 182, 191 (1993)); see 5 U.S.C. § 701(a)(2). One such category which has

long been recognized as unreviewable includes enforcement and nonenforcement

decisions. See Heckler v. Chaney, 470 U.S. 821, 831 (1985); Wayte, 470 U.S. at 607. That

is because, as the Supreme Court has explained, such decisions inherently require “a

complicated balancing of a number of factors which are peculiarly within [the Executive’s]

expertise,” including “whether agency resources are best spent on this violation or

another,” “whether the particular enforcement action requested best fits the agency’s

overall policies,” and “whether the agency has enough resources to undertake the action at

all.” Chaney, 470 U.S. at 831. There can be no doubt that this general presumption of

nonreviewability applies. But Plaintiffs’ Second Amended Complaint suggests that

§§ 1225(b)(2)(A), 1226(c), and 1231(a) displace this presumption by using the word

“shall.” The argument fails here, as the Fifth Circuit recently explained with regard to




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§§ 1226(c) and 1231(a). 8

       The word “shall” does not eliminate immigration officials’ discretion. See Texas

Stay Op., 14 F.4th at 337; Florida, 2021 WL 1985058, at *10; Arizona, 2021 WL 2787930,

at *11. Rather, the “deep-rooted nature of law-enforcement discretion” persists “even in

the presence of seemingly mandatory legislative commands.” Town of Castle Rock v.

Gonzales, 545 U.S. 748, 761 (2005). Thus, in Castle Rock, a statute provided that law

enforcement “shall arrest . . . or . . . seek a warrant” for the arrest of any violator of a

restraining order, but the Supreme Court rejected the notion this imposed a mandatory duty

because to be “a true mandate of police action would require some stronger indication” of

legislative intent than the bare “shall.” Id.

       So too here. Nothing provides the “stronger indication” necessary to displace



8
  As explained above, this Fifth Circuit decision was vacated after the ICE Interim Guidance and
Pekoske Memo were rescinded. It is therefore no longer binding as precedent, but it still serves as
persuasive authority. See Melot v. Bergami, 970 F.3d 596, 599 n.11 (5th Cir. 2020) (finding a
“thoughtful [circuit court] opinion” persuasive even though it had been “vacated as moot on
rehearing”); Johansen v. Trico Marine Int’l, Inc., No. CV H-07-3767, 2008 WL 11390861, at *8
(S.D. Tex. Aug. 29, 2008) (“the reasoning underlying” a vacated “decision remains persuasive
authority.”). In another context, a different Fifth Circuit panel recently remarked that the Interim
Guidance created a “class-based priority scheme” that would be reviewable under the APA. See
Texas v. Biden, No. 21-10806, 2021 WL 5882670 at *38 (5th Cir. Dec. 13, 2021). Even if this
dicta was binding—it is not—the New Guidance makes no “class-based” immigration enforcement
distinction. To the contrary, it requires immigration officers to make case-by-case “totality of the
facts and circumstances” determinations of whether to take certain civil immigration enforcement
and removal actions, and thus, even under the Fifth Circuit’s analysis in Texas, it guides the
exercise of prosecutorial discretion and is presumably unreviewable. See id. at *36 (the “executive
[is] free to leave the law unenforced in particular instances and at particular moments in time”).
The New Guidance discarded the presumed priority framework, which presumably created the
“classes” referenced by panel, in favor of a totality analysis for officers to decide whether to take
an enforcement action. See New Guidance at 4 (rejecting “categorical determination[s]”).
Accordingly, under either Fifth Circuit panel’s analysis, the New Guidance establishes a
framework to make individualized determinations in a manner committed to agency discretion.


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enforcement discretion. Quite the opposite: The statutory and practical context here

confirm that none of § 1225(b)(2), § 1226(c), or § 1231(a) impose an enforceable mandate

in this context. See Crane, 783 F.3d at 247 (explaining in the context of a challenge brought

pursuant to § 1225(b)(2), that “the concerns justifying criminal prosecutorial discretion are

‘greatly magnified in the deportation context’”) (quoting AADC, 525 U.S. at 490). 9

Congress constructed a removal system that has as a “principal feature” the “broad

discretion exercised by immigration officials.” Arizona, 567 U.S. at 396. That system gives

the Executive the discretion to decide “whether it makes sense to pursue removal at all,”

id., and allows the Executive “to abandon the endeavor” at “each stage” of the process,

AADC, 525 U.S. at 483. Consistent with that sweeping grant of discretion, Congress

empowered the Secretary to establish “national immigration enforcement policies and

priorities,” 6 U.S.C. § 202(5), and to “issue such instructions” and “perform such other acts

as he deems necessary for carrying out his authority” under the INA, 8 U.S.C. § 1103(a)(3).

       To underscore the extent of the Executive’s enforcement discretion, Congress

provided that, generally, “no court shall have jurisdiction to hear any cause or claim by or

on behalf of any alien arising from the decision or action by the [Secretary] to commence



9
  A Fifth Circuit panel recently held that, once removal proceedings are initiated, § 1225 requires
that DHS detain arriving noncitizens at the border or return them to a contiguous territory, and that
in combination with § 1182(d)(5), permits DHS to parole them into the United States case-by-case
in certain circumstances. See Texas v. Biden, 2021 WL 5882670 at *47. That holding applies only
to noncitizens “attempting to enter the United States.” Id. at *46. Even in the context of noncitizens
apprehended at the border, the panel acknowledged that DHS “lacks the resources to detain” this
class of noncitizens, id. at *48, and thus it stands to reason that DHS certainly lacks the resources
to detain the broader class of noncitizens that Plaintiffs believe are covered by the statute in the
interior. In any event, this is entirely beside the point given that the New Guidance does not even
apply to detention. See New Guidance at 1 (applying to apprehension and removal).
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proceedings, adjudicate cases, or execute removal orders against any alien under this

chapter.” 8 U.S.C. § 1252(g). That provision reflects Congress’s desire to “protect[] the

Executive’s discretion from the courts” in general and from “attempts to impose judicial

constraints upon prosecutorial discretion” in particular. AADC, 525 U.S. at 485-86, 485

n.9. Together with the Executive’s longstanding enforcement prerogative, these statutes

unmistakably establish that Congress committed immigration enforcement decisions to the

Executive’s unreviewable discretion. It is thus unsurprising that “in the quarter century that

IIRIRA has been on the books, no court at any level previously has held that sections

1226(c)(1) or 1231(a)(2) eliminate immigration officials’ discretion to decide who to arrest

or remove.” Texas Stay Op., 14 F.4th at 338.

       As the Fifth Circuit recently discussed, Plaintiffs cannot rely on cases such as Preap,

Demore, and Guzman Chavez to support their notion that the use of the word “shall”

eliminates prosecutorial discretion. Although those cases use seemingly mandatory

language to describe the statutes all are “ones in which detainees subject to enforcement

action were seeking their release” from custody and in none of them did the Supreme Court

“consider whether the statutes eliminate the government’s traditional prerogative to decide

who to charge in enforcement proceedings (and thus who ends up being detained).” Texas

Stay Op., 14 F.4th at 338-39. 10 Indeed, in Preap, the Supreme Court expressly rejected the


10
  The only mandates in §§ 1226(c) and 1231(a)(2) are that DHS not release from detention certain
covered noncitizens in certain circumstances. As explained above, the New Guidance does not
govern decisions about detention or release. In any event, longstanding DHS practice of detaining
covered noncitizens who are taken into custody is consistent with these detention mandates:
section 1226(c) mandates that once a covered criminal noncitizen is arrested and detained, and in


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argument that Congress wanted the supposedly mandatory language in § 1226(c) to be

“enforced by courts” against the government; rather, the Supreme Court explained, that

language served only to “exhort[]”—that is, to encourage—“the Secretary to act quickly.”

139 S. Ct. at 969 & n.6. Moreover, resource constraints, relations with local authorities,

and the fundamental difficulty of determining ex ante whether a particular noncitizen’s

conviction triggers the statutory criteria all make it practically impossible to detain every

noncitizen whose detention is directed by §§ 1225(b)(2), 1231(a), or 1226(c).

       In sum, Congress vested the Secretary with broad discretion to set immigration

enforcement priorities. 6 U.S.C. § 202(5); 8 U.S.C. § 1103(a)(3). The Secretary has

exercised that discretion here to focus agency resources on cases that fall within the priority

categories, while permitting other enforcement actions when justified by the facts. This

Court lacks jurisdiction to review the establishment of enforcement priorities.

          2.    The Memoranda are not “final agency actions” subject to APA review.

       Plaintiffs’ challenge fails for yet another reason. Only “final agency action” is

subject to judicial review under the APA. 5 U.S.C. § 704. Agency action is “final” only if

it both is “the consummation of the agency’s decisionmaking process” and also determines

“rights or obligations.” Bennett v. Spear, 520 U.S. 154, 177-78 (1997); see also U.S. Army

Corps of Eng’rs v. Hawkes Co., 578 U.S. 590, 597 (2016). Here, the New Guidance does

not determine or alter any individual noncitizen’s rights or obligations, nor is it an action



removal proceedings, DHS may release them “only if” narrow exceptions are met; section 1231(a)
provides that “[u]nder no circumstance” shall DHS release certain noncitizens who are detained
during the removal period. Section 1225(b)(2) lacks the same truly-mandatory language; a mere
“shall” does not displace the Executive’s discretion.
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“from which legal consequences will flow.” See id. Indeed, in rejecting Florida’s request

to preliminarily enjoin the Interim Guidance, the district court in the Middle District of

Florida found that the challenged agency’s enforcement guidance did not constitute final

agency action. See Florida, 2021 WL 1985058, at *9.

       The New Guidance sets out procedures for and the manner in which ICE will take

enforcement actions—some of which may result in later “final agency action” subject to

review through the INA. Only those later, final agency actions—e.g., the issuance of a final

order of removal—“alter” a noncitizen’s “legal rights or obligations” or create “legal

consequences.” The guidance does not itself change any person’s legal status, confer any

legal benefits, or have any “legal consequences.” It is similar to the prosecutor’s policy of

focusing on bank robberies—such a policy of course does not make pickpocketing lawful

or provide a pickpocket with a defense to avoid prosecution. Indeed, the New Guidance

expressly advises that it does not “create any right or benefit, substantive or procedural,

enforceable at law.” New Guidance at 7.

       To be sure, the New Guidance may have downstream consequences. Perhaps DHS

will take enforcement action against one noncitizen it otherwise would not have, and

perhaps DHS will defer enforcement action against a different noncitizen it otherwise

might not have. But “any such consequences are practical, as opposed to legal, ones.”

Louisiana v. U.S. Army Corps of Eng’rs, 834 F.3d 574, 583 (5th Cir. 2016); see also

Reliable Automatic Sprinkler Co. v. Consumer Prod. Safety Comm’n, 324 F.3d 726, 732

(D.C. Cir. 2003). And it is only legal consequences that establish finality for purposes of

the APA. Thus, for example, the decision to initiate an enforcement action is the

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quintessential example of non-final agency action, notwithstanding that it will have the

immediate practical effect of requiring the target to participate in related proceedings, and

may later result in a legally binding order or judgment. See, e.g., Energy Transfer Partners,

L.P. v. Fed. Energy Regul. Comm’n, 567 F.3d 134, 141 (5th Cir. 2009); FTC v. Standard

Oil Co. of Cal., 449 U.S. 232, 241 (1980). The New Guidance here is further removed even

from that: it does not itself initiate (or terminate) any proceeding but instead merely sets

internal procedures for doing so in discrete cases.

           3.    Congress has precluded judicial review of these types of decisions.

       Consistent with the broad enforcement discretion afforded DHS, Congress enacted

“many provisions . . . aimed at protecting the Executive’s discretion from the courts.”

AADC, 525 U.S. at 486. Those provisions independently preclude judicial review here.

            a.    APA challenges to DHS’s application of enforcement priorities are
                  precluded from review.

       An action cannot proceed under the APA when another statute precludes judicial

review. 5 U.S.C. § 701(a)(1). “Whether and to what extent a particular statute precludes

judicial review is determined not only from its express language, but also from the structure

of the statutory scheme, its objectives, its legislative history, and the nature of the

administrative action involved.” Block v. Cmty. Nutrition Inst., 467 U.S. 340, 345 (1984).

A detailed mechanism for review of some claims by some plaintiffs is “strong evidence

that Congress intended to preclude [other types of plaintiffs] from obtaining judicial

review.” United States v. Fausto, 484 U.S. 439, 448 (1988).

       Congress has set out a detailed statutory review scheme for claims pertaining to the


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INA. See 8 U.S.C. § 1252; id. § 1229. That review scheme is the exclusive means of

judicial review and precludes statutory claims that do not fall within its parameters. See,

e.g., id. § 1252(a)(5) (“For purposes of this chapter, in every provision that limits or

eliminates judicial review or jurisdiction to review, [those terms] include . . . review

pursuant to any other provision of law (statutory or nonstatutory)”). Section 1252(b)(9)

channels judicial review of all “decisions and actions leading up to or consequent upon

final orders of deportation,” including “non-final order[s],” into one proceeding

exclusively before a court of appeals. AADC, 525 U.S. at 483, 485.

       A separate—and even more limited—scheme governs judicial review of expedited

removal orders. See 8 U.S.C. § 1252(a)(2)(A); id. § 1252(e). With respect to removal

proceedings under § 1229a, these provisions circumscribe district court jurisdiction over

“any issue—whether legal or factual—arising from any removal-related activity,” which

“can be reviewed only through the [statutorily defined] process.” J.E.F.M. v. Lynch, 837

F.3d 1026, 1029–31 (9th Cir. 2016); see Aguilar v. ICE, 510 F.3d 1, 9 (1st Cir. 2007)

(similar). That includes “policies-and-practices challenges,” J.E.F.M., 837 F.3d at 1035,

arising from any “action taken or proceeding brought to remove an alien,” 8 U.S.C.

§ 1252(b)(9), whether or not the challenge is to an actual final order of removal or whether

there even is a final order at all, J.E.F.M., 837 F.3d at 1032. Thus, § 1252(b)(9) is an

“unmistakable zipper clause” that means “no judicial review in deportation cases unless

this section provides judicial review.” AADC, 525 U.S. at 482-83. And as to expedited

removal determinations under § 1225(b)(1), “no court shall have jurisdiction to review”

any challenge to “procedures and policies adopted by the [Secretary] to implement the

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provisions of section 1225(b)(1),” subject to minor exceptions, in the District Court for the

District of Columbia. 8 U.S.C. § 1252(a)(2)(A)(iv), (e)(3); M.M.V. v. Garland, 1 F.4th

1100, 1109 (D.C. Cir. 2021).

       The claims here “arise[] from” “action[s] taken or proceeding[s] brought to remove

an alien” under § 1229a, 8 U.S.C. § 1252(b)(9), and “procedures and policies”

implementing § 1225(b)(1). 8 U.S.C. § 1252(a)(2)(A)(iv). Plaintiffs challenge what they

allege to be DHS’s practice regarding (1) the initiation of either expedited removal

proceedings, id. § 1225(b)(1), or full removal proceedings “under section 1229a,” id.

§ 1225(b)(3)(A); (2) detention of certain noncitizens “pending [a] decision” on removal,

id. § 1225(b)(3)(B); § 1226(a); and (3) the removal “at any time” of noncitizens with

reinstated orders of removal, id. § 1231(a)(5). Because § 1252 provides the sole

mechanism for review of all “decisions and actions leading up to or consequent upon final

orders of deportation,” AADC, 525 U.S. at 485, and because Plaintiffs cannot invoke

§ 1252, their claims necessarily fail.

       As Justice Scalia explained in Fausto, when Congress provides for review by

specific plaintiffs, but not by others, the excluded plaintiffs cannot obtain judicial review. 11

484 U.S. at 448. That is precisely what Congress did here. In Block, for example, Congress

provided a specific review scheme for “dairy handlers” but said nothing at all about




11
  The district court that addressed the Interim Guidance thus erred in its understanding of § 1252’s
import for claims brought outside its strictures. Rather than making Block and Fausto “irrelevant,”
Texas v. United States, ___ F. Supp. 3d ___, 2021 WL 3683913 at *20 (S.D. Tex. Aug. 19, 2021),
the fact that the INA provides review only for noncitizens confirms that Fausto and Block are
directly on point.
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“consumers.” 467 U.S. at 346-47. This did not mean that milk consumers could resort to

the APA to challenge the agency action; it meant they could not challenge the action at all.

Id. at 347. Here, by providing a detailed and limited review scheme for noncitizens’ claims,

Congress has implicitly precluded claims by other persons or entities, including by these

plaintiffs, under the APA or otherwise. Cf. Ayuda, Inc. v. Reno, 7 F.3d 246, 250 (D.C. Cir.

1993) (holding that organizational plaintiff could not challenge INS policies “that bear on

an alien’s right to legalization”).

             b.    Plaintiffs’ § 1225 challenge is specifically precluded from review.

       Even setting aside the broad preclusion of APA claims under § 701(a)(1) and the

Supreme Court’s precedents in Fausto and Block, Congress specifically precluded the

challenges Plaintiffs raise here. Plaintiffs contend that the New Guidance violates

§ 1225(b)(1)’s supposed mandate for the expedited removal of certain noncitizens and the

ordinary removal proceedings for other noncitizens. See Pls.’ Mot. for Prelim. Inj. Relief

at 6, ECF No. 7. But Congress has explicitly precluded judicial review of this claim: “[N]o

court shall have jurisdiction to review” “procedures and policies adopted by the [Secretary]

to implement the provisions of section 1225(b)(1).” 8 U.S.C. § 1252(a)(2)(A), (A)(iv); 12

see id. § 1252(b)(9) (precluding all such challenges as those brought here under § 1225(b)).

             c.    Plaintiffs’ § 1226(c) challenge is specifically precluded from review.

       In addition, Congress expressly precluded judicial review over the Plaintiffs’



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   Section 1252(e) restores jurisdiction in two circumstances, neither of which applies here: a
habeas challenge by a noncitizen to their expedited removal order, 8 U.S.C. § 1252(e)(2), and a
facial challenge to a regulation or policy implementing § 1225(b)(1) “instituted in the United States
District Court for the District of Columbia.” Id. § 1252(e)(3)(A).
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§ 1226-related claim. Congress provided that the Secretary’s “discretionary judgment

regarding the application of this section shall not be subject to review.” 8 U.S.C. § 1226(e).

Here, the Secretary’s determinations under § 1226(c) are discretionary since he may detain

a noncitizen under § 1226—under either (a) or (c)—only “pending a decision” on removal.

Detention authority is thus contingent on the Secretary’s separate, predicate, and

discretionary decision to commence removal proceedings in the first instance, by issuing a

notice to appear. See id. § 1229(a); Crane, 783 F.3d at 249; see also Niz-Chavez v. Garland,

141 S. Ct. 1474, 1482 (2021) (“A notice to appear serves as the basis for commencing a

grave legal proceeding” and “is like an indictment in a criminal case.”). Even crediting a

judicially enforceable mandate in § 1226(c) for detention “pending a decision” on removal,

it would not disrupt the Executive’s “broad” discretion to decide who should face removal

proceedings in the first place. Arizona, 567 U.S. at 396; Texas Stay Op., 14 F.4th at 337.

       The policy Plaintiffs challenge here—which does not dictate which noncitizens

DHS may detain, but instead simply establishes internal procedures that help DHS target

its apprehension and removal resources—is still deeper within the Secretary’s discretion.

Put otherwise, Congress vested the Secretary with discretion to decide who to pursue for

removal in the first instance, 8 U.S.C. § 1229(a), and derivatively whom to take into

custody and detain pending removal, id. § 1226(a); Congress also vested the Secretary with

discretion to set “national immigration enforcement polices and priorities,” 6 U.S.C.

§ 202(5); and Congress also provided that such detention decisions “shall not be subject to

[judicial] review,” 8 U.S.C. § 1226(e). The Court therefore lacks jurisdiction to review the

Secretary’s discretionary decision to structure enforcement priorities as he has here.

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       To be sure, the Supreme Court has held that this section does not preclude a habeas

petitioner from challenging either the constitutionality of the statutory scheme or that his

detention is not authorized by that scheme. Demore v. Kim, 538 U.S. 510, 517 (2003). That

is so because Congress must speak more clearly when it seeks to preclude constitutional

claims or habeas review. Id. In subsequent cases, a plurality of the Court similarly found

jurisdiction over constitutional challenges to the statutory framework or to claims

contending that detention was not authorized by that framework. Preap, 139 S. Ct. at 962

(plurality); Jennings, 138 S. Ct. at 841 (plurality). But see Preap, 139 S. Ct. at 974-75

(Thomas, J., concurring in part) (finding that § 1226(e) bars even those claims); Jennings,

138 S. Ct. at 857 n.6 (Thomas, J., concurring in part) (same). Here, Plaintiffs’ APA claims

are neither constitutional claims nor habeas claims, nor are they arguing that the Secretary

lacks the power to detain certain noncitizens under § 1226(c). The “text of the statute

contains no [similar] exception” for APA claims. Preap, 139 S. Ct. at 975 (Thomas, J.,

concurring in part). Because these claims do not implicate the special rules of construction

related to constitutional or habeas claims, § 1226(e) precludes review.

            d.    Plaintiffs’ § 1231(a)(5) challenge is likewise specifically precluded.

       Section 1231 similarly precludes judicial review of Plaintiffs’ challenge based on

that section. Plaintiffs contend that § 1231(a)(5) requires DHS to remove all noncitizens

who have reentered illegally. Setting aside whether that interpretation is correct, see Defs.’

Mem. of P.&A. in Opp’n to Pls.’ Mot. for a Prelim. Inj. at 34-47, ECF No. 33 (explaining

why Plaintiffs’ statutory interpretation is wrong), Plaintiffs cannot enforce that provision.

Congress provided, in no uncertain terms, that “[n]othing in [§ 1231] shall be construed to

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create any substantive or procedural right or benefit that is legally enforceable by any party

against the United States.” 8 U.S.C. § 1231(h). Whatever the meaning of § 1231(a)(5), it

is not subject to judicial enforcement, by “any party.” See Party, Black’s Law Dictionary

(11th ed. 2019) (“One by or against whom a lawsuit is brought.”). Section 1231(h), like its

statutory ancestor, “makes clear that Congress intended that no one be able to bring suit to

enforce” it. Hernandez-Avalos v. INS, 50 F.3d 842, 844 (10th Cir. 1995).

       Finally, for similar reasons, Plaintiffs do not come within the relevant zone of

interests. An APA plaintiff must show that it is “aggrieved . . . within the meaning of a

relevant statute,” 5 U.S.C. § 702, meaning the plaintiff “may not sue unless he ‘falls within

the zone of interests sought to be protected by the statutory provision whose violation forms

the legal basis for his complaint,’” Thompson v. N. Am. Stainless, LP, 562 U.S. 170, 177

(2011) (quoting Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 883 (1990)); see also Match-

E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 224 (2012).

Whether a plaintiff is within the zone of interests is a question answered “using traditional

tools of statutory interpretation” to decide “whether [the plaintiff] falls within the class of

plaintiffs Congress has authorized to sue” under the applicable statute. Lexmark Int’l, Inv.

v. Static Control Components, Inc., 572 U.S. 118, 127-28 (2014). As explained above,

Congress was clear that no entity can enforce § 1231, and therefore no entity is within the

“zone of interests” of § 1231. See 8 U.S.C. § 1231(h); Hernandez-Avalos, 50 F.3d at 844.

          4.    Plaintiffs cannot proceed by asserting claims under the Declaratory
                Judgment Act.

       For each of their claims, Plaintiffs also rely on the Declaratory Judgment Act, 28


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U.S.C. §§ 2201-02. See SAC ¶ 58, Prayers for Relief ¶¶ A-C. But “[t]he operation of the

Declaratory Judgment Act is procedural only.” Franchise Tax Bd. of State of Cal. v. Constr.

Laborers Vacation Tr. for S. Cal., 463 U.S. 1, 15 (1983). Although the Act “enlarged the

range of remedies available in the federal courts,” it did not create a cause of action, or a

new right, to seek those remedies. Skelly Oil Co. v. Phillips Petroleum Co., 339 U.S. 667,

671 (1950); see also Harris Cnty. v. MERSCORP Inc., 791 F.3d 545, 552- 53 (5th Cir.

2015). Thus, the Act does not salvage Plaintiffs’ claims.

III. At Minimum, the Court Should Grant Defendants’ Partial Motion to Dismiss.

       At minimum, should this Court not dismiss this entire action, it should dismiss for

lack of jurisdiction (1) the claims brought by the Foundation as precluded by the Civil

Service Reform Act, and (2) Plaintiffs’ claims against the President.

       A.   The ICE Officers’ claims are precluded from judicial review by the Civil
            Service Reform Act.

       Even if this Court finds that any of the plaintiffs have standing, the Civil Service

Reform Act (the “CSRA”) precludes this Court’s jurisdiction over any claims brought by

the Foundation. The CSRA review scheme is the exclusive means for redressing federal

employment disputes, even when plaintiffs style them as constitutional claims. See Elgin

v. Dep’t of Treasury, 567 U.S. 1, 10-15 (2012); Fausto, 484 U.S. at 455. The exhaustive

scheme of the CSRA covers the entire scope of the federal employment relationship, even

beyond personnel actions, and is exclusive for federal employment claims regardless of the

nature of available review. Id. at 443-44, 448-49 (CSRA precluded jurisdiction even though

the particular action at issue could not give rise to either administrative or judicial review).

       Here, the allegations brought by the Foundation for purposes of associational
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standing—that ICE officers risk disciplinary action if they ignore the New Guidance—are

substantially the same allegations the district court in Crane v. Napolitano dismissed as

precluded by the CSRA. See Civ. A. No. 3:12-CV-03247-O, 2013 WL 8211660, at *3

(N.D. Tex. July 31, 2013) (O’Connor, J.). 13 There, the law enforcement plaintiffs asserted

that DACA required them to “either comply with federal law and face disciplinary actions,

or ignore the requirements of federal law and participate in the administration of an illegal

program.” See Crane v. Napolitano (“Pls.’ Brief”), 2012 WL 6633750 (N.D. Tex. Nov. 28,

2012.). The court found that this alleged injury amounted to an employment dispute, and

the CSRA barred plaintiffs from raising their challenge in court. See Crane, 2013 WL

8211660 at 3 n.3. 14 The same conclusion applies here, notwithstanding Plaintiffs’ effort to

avoid this jurisdictional bar by bringing employees’ claims in the Foundation’s name.

       As to the Foundation’s claim to organizational standing, Plaintiffs similarly cannot

evade the limits of the CRSA. By Plaintiffs’ own description, the Foundation is serving a

function of a union by advising its members concerning the terms of their federal

employment. See SAC ¶ 46 (“The purposes of the Federal Police Foundation include, inter

alia, conducting research, informing federal law enforcement officers about legal and

policy issues affecting their work, and informing the public about federal law enforcement



13
   In affirming the district court’s dismissal, the Fifth Circuit did not address the CSRA because it
found that the ICE officers lacked standing. See Crane v. Johnson, 783 F.3d 244 (5th Cir. 2015).
14
   Whether there is ultimately Article III judicial review of the Foundation’s constitutional claim
is of no import; all administrative remedies under the CSRA must be exhausted. See Fleming v.
Spencer, 718 F. App’x 185, 189 (4th Cir. 2018) (concluding “that the CSRA precludes judicial
review of constitutional claims for equitable relief when an employee has failed
to exhaust administrative remedies available under the CSRA”). Here, there has been no such
showing of pursuing such claims, such as those provided by 5 U.S.C. § 2302(b)(9)(D).
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matters.”) (emphasis added); id. (claiming ICE officers as members). But a federal

employee union would not be able to bring this claim in this court. See American Postal

Workers Union, AFL-CIO v. U.S. Postal Service, 940 F.2d 704, 708-709 (D.C. Cir. 1991)

(holding that CSRA preempts claim brought by union as well as employees). Rather,

collective bargaining procedures are part of the CSRA’s comprehensive scheme. See

Karahalios v. Nat’l Fed’n of Fed. Emps., Local 1263, 489 U.S. 527, 533-34 (1989)

(holding Congress created an exclusive scheme to address unfair labor practice claims);

accord Leal v. Woodley & McGillivary, No. H-08-cv-345, 2009 WL 1704311 at *3 (S.D.

Tex. June 17, 2009). The CSRA provides “a dispute-resolution mechanism for the various

foreseeable issues that might arise during the collective bargaining process or as part of a

final collective bargaining agreement.” Nat’l Ass’n of Agric. Emps. v. Trump, 462 F. Supp.

3d 572, 576, (D. Md. May 21, 2020) (citing 5 U.S.C. §§ 7104-5, 7116, 7118-19, 7121-

22, 7132). Indeed “[a]dministrative review is provided by the Federal Labor Relations

Authority (FLRA), a three-member agency charged with adjudicating federal labor

disputes, including ‘negotiability’ disputes and ‘unfair labor practice’ disputes.” Am. Fed’n

of Gov’t Emps. AFL-CIO v. Trump, 929 F.3d 748, 752 (D.C. Cir. 2019) (quoting 5 U.S.C.

§ 7105(a)); accord Nat’l Ass’n of Immigr. Judges v. McHenry, 477 F. Supp. 3d 466, 472

(E.D. Va. 2020), appeal filed, No. 20-1868 (4th Cir. Aug. 12, 2020); see also 5 U.S.C.

§ 7121 (collective bargaining grievance procedures). Thus, as with employees’ claims, the

CSRA provides the sole remedy for disputes between a union and its members’ employer.

       It stands to reason that an association advising its members concerning their federal

employment can have no more right to review in this Court than would the members’

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formal, recognized union. Rather, as explained above, the CSRA’s comprehensive and

exhaustive scheme covers the entire federal employment relationship. See Fausto, 484 U.S.

at 445 (the CSRA “replaced the [previous] patchwork system with an integrated scheme of

administrative and judicial review, Accordingly, regardless of whether the Foundation

establishes associational or organizational standing, its claims are precluded by the CSRA.

       B.   The Court may not enjoin the President in his official duties.

       Whatever claims Plaintiffs may have against the other federal defendants, neither

injunctive nor declaratory relief is proper against the President in his official capacity.

“With regard to the President, courts do not have jurisdiction to enjoin him and have never

submitted the President to declaratory relief.” Newdow v. Roberts, 603 F.3d 1002, 1013

(D.C. Cir. 2010); see Franklin v. Massachusetts, 505 U.S. 788, 802–03 (1992) (“[I]n

general ‘this court has no jurisdiction of a bill to enjoin the President in the performance

of his official duties.’” (quoting Mississippi v. Johnson, 71 U.S. (4 Wall.) 475, 501 (1866));

Swan v. Clinton, 100 F.3d 973, 976 n.1, 978 (D.C. Cir. 1996) (courts lack the authority to

enjoin the President in the performance of his official duties and “similar considerations”

restrict a court’s power to issue a declaratory judgment against the President); Foley v.

Biden, No. 21-cv-01098 (N.D. Tex. Oct. 6, 2021), Order on Prelim. Inj. at 3, ECF No. 18

(“Thus, the Court cannot remedy Plaintiff’s alleged injury because the Court has no

declaratory or injunctive power against President Biden.”). An “apparently unbroken

historical tradition supports the view, . . . implicit in the separation of powers established

by the Constitution, that the principals in whom the executive and legislative powers are

ultimately vested . . . may not be ordered to perform particular executive or legislative acts

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at the behest of the Judiciary.” Franklin, 505 U.S. at 827 (Scalia, J., concurring in part)

(“For similar reasons,” courts “cannot issue a declaratory judgment against the President.”)

       The reasons for this rule are “painfully obvious.” Swan, 100 F.3d at 978. The

judiciary ordering a co-equal branch of government to perform specific executive acts “at

best creates an unseemly appearance of constitutional tension and at worst risks a violation

of the constitutional separation of powers.” Id.; accord Kendall v. U.S. ex rel. Stokes, 37

U.S. (12 Pet.) 524, 610 (1838) (“The executive power is vested in a President; and as far

as his powers are derived from the constitution, he is beyond the reach of any other

department, except in the mode prescribed by the constitution through the impeaching

power.”). The Mississippi Court further warned of its lack of “power to enforce its process”

to support any injunction against the President. 71 U.S. at 501. The Court concluded that

an attempt by the judiciary “to enforce the performance of [executive and political] duties

by the President [is] . . . an absurd and excessive extravagance.” Id. at 499.

       Even if the Constitution permitted Plaintiffs to seek relief against the President,

Plaintiffs would still need to identify a relevant waiver of sovereign immunity. Plaintiffs

cannot rely on the APA, see 5 U.S.C. § 702, as “the President’s actions [are] not reviewable

under the APA, because the President is not an ‘agency’ within the meaning of the APA,”

Dalton v. Specter, 511 U.S. 462, 469 (1994) (citing Franklin, 505 U.S. at 801). Plaintiffs

identify no other waiver, and the claims against the President must be dismissed. Alexander

v. Trump, 753 F. App’x 201, 206 (5th Cir. 2018), cert denied, 139 S. Ct. 1200 (2019).

                                      CONCLUSION

       For these reasons, the Court should dismiss Plaintiffs’ Second Amended Complaint.

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Dated: December 15, 2021           Respectfully submitted,

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                             CERTIFICATE OF SERVICE
       I certify that a true and accurate copy of the foregoing document was filed

electronically (via CM/ECF) on December 15, 2021.


                                          /s/ Brian Rosen-Shaud
                                          BRIAN C. ROSEN-SHAUD



                         CERTIFICATE OF CONFERENCE
       I certify that the undersigned conferred with Plaintiffs’ counsel in compliance with

Rule 6 of the Galveston District Court Rules of Practice and that Plaintiffs did not timely

amend their pleading.


                                          /s/ Brian Rosen-Shaud
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